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                                      September 6, 2022
Via ECF
The Honorable Ann M. Donnelly, U.S.D.J.
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re:    Gutierrez v. Carter’s, Inc., Case No. 1:22-cv-03234-AMD-RLM

Dear Judge Donnelly:

       I represent Plaintiff in the above-captioned action and I write pursuant to Rule 2.F of
Your Honor’s Individual Practices and Rules to request an adjournment of the Pre-Motion
Conference currently set for October 5, 2022 at 11:00 a.m. in Courtroom 4G North.

        Due to a scheduling conflict, undersigned counsel respectfully requests an adjournment
until October 10, 2022 or the week of November 7, 2022. There have been no previous requests
for adjournment of this date and Defendant’s counsel consents to this request.

       Thank you for your attention to this matter.



                                                               Respectfully,




                                                              Yitzchak Kopel

cc: All counsel of record via ECF
